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WHO IS SANDY GARBER?


I AM A Wentzville School District resident since 1977....45 years.
I AM A mother & a grandmother. My 2 children and 3 of my grandchildren had been
students
       in the Wentzville School district.
I AM A Licensed Realtor with Select Properties, Real Estate, licensed since 1998.....24
years.

I AM A Republican Central Committeewoman since 2010, Vice Chair in 2012- 2014,
   Secretary for 2014-2016 for Lake St. Louis Township #13. Re-elected in 2016 &
      2018 & 2020. I will be on the ballot again this year, 2022
I AM A Member of the Pachyderms since 2014
I AM A Former member of the Lake St. Louis Community Association Architectural
Control
      Committee
I AM A Former member of the St. Charles Business Network International (BNI)

I AM A former WSD Board director from 2012 until April of 2015, being Secretary
of

       the Board for my last 2 years

I AM A Currently ELECTED WSD Board Director, re-elected in 2019 for a 3-year term.



Since March of 2020 when OUR DISTRICT experienced the COVID-19 virus that required
immediate action with the many issues never before experienced by ANY school districts in
our nation, it was a very difficult time for students, parents, teachers, support staff, bus
drivers, administrators, our superintendent......yes, EVERYONE! Are we “out of the
woods yet”? I know we are all praying that these days are BEHIND us as we look forward
to this new year. We’ve come a long way together....today we have a much better idea of
“what works and what doesn’t”. Do we have more to learn?... I’m sure we do....and we will
do it TOGETHER. But one most valuable lesson that we learned is that “our kids learn
BEST when they are in school 5 days a week in front of their teachers”.



WHAT DO I STAND FOR (& will absolutely FIGHT for) for our Wentzville District?




                                                                           Exhibit 35
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1. IN-PERSON LEARING FOR OUR STUDENTS.. ON-LINE Virtual learning ONLY
WHEN ABSOLUTELY NECESSARY



2. NO MASK MANDATES for our children.




3. ACADEMIC EDUCATIONAL CURRICULUM “ PROFICENCY” FOCUSED ON
THE BASICS OF FUNDAMENTAL EDUCATION....READING, ENGLISH, MATH,
SCIENCE, HISTORY...for our students to be SUCCESSFUL in their adult lives.



4. NO TEACHING OF THE “1619 HISTORY” OF OUR NATION! ...TRUE HISTORY
ONLY!




5. NO “CRT” (Critical Race Theory) or ANY PROGRAM THAT RESEMBLES IT.


6. NO SEXUALLY EXPLICIT BOOKS IN OUR SCHOOLS OR CURRICULUM FOR
OUR “MINOR” CHILDREN TO SEE OR READ....(What is the ACADEMIC &
EDUCATIONAL VALUE for our students?)

Here’s the link to the January 20, 2022 BOE meeting..see the discussion & vote starting at

2 hours-58 minutes-45 seconds



Wentzville School Board IN THE NEWS! January 20,2022

https://www.stltoday.com/news/local/education/wentzville-school-board-bans-acclai
med-novel-from-high-school-libraries-over-obscenity-complaints/article_0aeb99be-4
66e-5423-b313-25c6556f7157.html

https://fox2now.com/news/missouri/wentzville-school-board-votes-to-remove-contro
versial-book/



                                                                            Exhibit 35
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https://fox2now.com/news/missouri/controversial-book-removed-from-libraries-in-w
entzville-school-district/

7. NO CLASSROOM VIOLENCE in our Schools...WE NEED BETTER SOLUTIONS!



8. FISCAL RESPONSIBILITY...I am a Board DIRECTOR who strives to be A GOOD
STEWARD OF YOUR HARD-EARNED TAX DOLLARS.



9. PERSONAL RESPONSIBILITY & ACCOUNTABILITY FOR EVERYONE in our
DISTRICT.



10. TEACHING CIVIC PRIDE & PATRIOTISM FOR OUR COMMUNITIES AND OUR
COUNTRY.



11. COMPLETE TRANSPARENCY IN EVERY ASPECT OF OUR DISTRICT to
INCLUDE A COMPLETE & FULL REVIEW OF OUR CURRICULUM.



12. I WILL ALWAYS SUPPORT PARENTS & STUDENTS RIGHTS.



I am ever so pleased & happy that our DISTRICT BOARD MEETINGS are Live
Streamed! As many of us live in a very “on-the-go” lifestyle, I know that parents want “A
SAY” in the EDUCATION of their children....AS IT SHOULD BE. I know that Parents
must ‘’juggle” a very hectic schedule in order to meet the demands of a very active family.
I want PARENTS to know that I truly read & welcome your emails & comments....the
“good, bad & the ugly”! I also want PARENTS to know that I AM NOT A RACIST....that
I was FALSELY accused to be by the WNEA (Teacher’s Union) PRESIDENT in June of
2020!... I feel very sorry for & sad that some people believed this false accusation ... I WAS
JUDGED GUILTY BEFORE I WAS PROVEN INNOCENT....That’s NOT AMERICA! Is
that the way we want our children to behave? We are INNOCENT UNTIL PROVEN
GUILTY!




                                                                             Exhibit 35
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I am asking for your vote In April and would be extremely humbled & honored to serve again on
the Wentzville School Board to be YOUR voice on this very important & powerful BOARD.




                                                                           Exhibit 35
